Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 1 of 19




	
	
               EXHIBIT A
                                 	
           Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 2 of 19
3. CT Corporation                                                                  Service of Process
                                                                                   Transmittal
                                                                                   07/ 16/2018
                                                                                   CT Log Number 533703741
   TO:         Jason Engel, Senior Vice President & General Counsel
               Experian




   RE:
               475 Anton Blvd Bldg D
               Costa Mesa, CA 92626· 7037


               Process Served in Maryland
                                                                                               I f----
                                                                                                 r-l,.:I)
                                                                                                      J                  .   I               i~
                                                                                                                                            ·!/ l)/
   FOR:        Experian Information Solutions, Inc. (Domestic State: OH)
                                                                                                            I                     __J
                                                                                                                JASOU FNGEL

   l!NCLOSl!D ARI! COPll!S OF Ll!GAL PROCl!SS IH!Cl!IVl!D IIY THI! STATUTORY AGl!NT OF THI! ABOVI! COMPANY AS FOLLOWS:

   TITLI! OF ACTION:                     Darissa Monroe, Pltf.   vs.   Comenity, LLC and Experian Information Solutions, Inc.,
                                         Dfts.
   DDCUlll!NTCS} Sl!RVl!D:              Summons, Return, Report, Complaint, Attachment(s)
   COUllT/AGl!NCY:                      Anne Arundel County Circuit Court, NO
                                                                 T



                                        Case II C02CV18001817
   NATURI! OF ACTION:                   Violation of the Fair Credit Reporting Act
   ON WHOM PROCl!SS WAS Sl!RVl!D:       The Corporation Trust Incorporated, Lutherville Timonium, NO
   DATI! AND HOUR OF Sl!RVICI!:         By Certified Mail on 07 / 16/ 2018 postmarked on 07/12/2018
   JURISDICTION Sl!RVl!D :              Maryland
   APPl!ARANCI! OR ANSWl!R DUI!:        Within 60 days after the date it is issued
   ATTORNl!YCS} / Sl!NDl!R(S}:          Ingmar Goldson
                                        THE GOLDSON LAW OFFICE
                                        1734 Elton Road, Suite 210
                                        Sliver Spring, NO 20903
                                        240·780·8829
   ACTION ITl!MS:                       SOP Papers with Transmittal, via UPS Next Day Air, 1ZX212780109324682

   SIGNl!D:                             The Corporation Trust Incorporated
   ADDRl!SS:                            2405 York Rd
                                        Suite 201
                                        Lutherville Timonium, NO 21093•2264
   Tl!Ll!PHONI!:                        614-621-1919




                                                                                   Page 1 of 1 / AS
                                                                                  ln(ormation displayed on !his transmittal Is for CT
                                                                                  Corporation's record keepin!I purposes only and ts provided to
                                                                                  the recipient for quick reference. This information does not
                                                                                  constitute a lqal opinion as to !he nature o( action, the
                                                                                  amount of damages, the answer date, or any information
                                                                                  contained in the documents themsdves. Recipient is
                                                                                  responsible (or interpreting satd documents and for taking
                                                                                  appropriate action. Signatures on certified mail receipts
                                                                                  connrm receipt o( package only, not contents.
                                                       ........
                                                       ~

                                                    """'"'' :
                                             Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 3 of 19

                                                                                                                                           $12.932
                                                                                                                                          US POSTAGE
                                                                                                                                          ARST.CLASS
                                                                                                                                           FROM20903


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                                                                                                                     j
                                                                                                                               RESTRICTED DELIVERY REQUEST


                                                                                                                     ''
                                                                                                                     I


                                                                                                                     I
                                                                                                                     1    The Corporation Trust, Incorporated
                                                                                                                     1    c/o Experian Information Solutions
                                                                                                                     1    2405 York Road, Su~e 201
                                                                                                                     I    Lutherville Timonium MD 21093-2252



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                 Case 1:18-cv-02503-PX
                   CIRCUIT             Document
                            COURT FOR ANNE      1-1 Filed
                                            ARUNDEL       08/15/18
                                                     COUNTY,     Main:Page   4 of 19
                                                                       410-222-1397
                                                                                         Civil: 410-222- 143 I
                    MARYLAND                                                             Criminal: 410+222-1420
                    8 Church Circle                                                      Juvenile: 4l0·222-1427
                    Annapolis, Maryland 21401                                            Trust/Adoption. 410-222 -1331
                                                                                         TTY for Deaf: 410·222·1429
                                                                                         Maryland R.:lay Service: 711


             To:    EXPERIAN INFORMATION SOLUTIONS INC
                    SERVE ON THE CORPORATlON TRUST lNCORPORATED
                    2405 YORK ROAD STE 201
                    LUTHERVJLLE TIMONJUM MD 21093

                                                                   Case Number:                            C-02-CV-18-001817
                                                      Other Reference Number(s):

DARISSA MONROE VS. COMENITY LLC, ET AL.
                                                                                                           Issue Date:. 7/1 I/2018
                                                 WRIT OF SUMMONS

      You are hereby summoned to file a written response by pleading or motion, within 30 days after service of this
summons upon you, in this Court, to the attached complaint filed by:

         DARISSA MONROE
         8329 Green Grass Rd
         Laurel, MD 20724

        This summons is effective for service only if served within 60 days after the date it is issued.


                                                        ~p~
                                                       Robert P. Duckworth
                                                       Clerk of the Circuit Court


To the person summoned:
    Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
    sought against you.
    Personal attendance in court on the day named is NOT required.

Instructions for Service:

    I. This summons is effective for service only if served 60 days after the date issued.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4. If this notice is served by private process, process server shall file a separate affidavit as required by Maryland
       Rule 2-l26(a)




CC-CV-032 (Rev. 08/2017)                              Page 1 of 2                                          07/11/2018 10:02 AM
             Case
 Darissa Monroe      1:18-cv-02503-PX
                vs. Comcnity LLC, ct al.             Document 1-1 Filed 08/15/18
                                                                               CasePage 5 ofC-02-CV-18-001817
                                                                                    Number:  19

                                                    SHERIFF'S RETURN
                                             Circuit Court for Anne Arundel County



 Sheriff fee:                                      By:
                                                         -------------------------
 Served:

Time:                                Date:

 Unserved (Reason):


Instructions to Private Process:

     I. This summons is effective for service only if served 60 days after the date issued.
    2.     Proof of Service shall set out the name of lhc person served, date and the particular place and manner of service.
           [f service is not made, please state the reasons.
    3.     Retum of served or unserved process shall be made promptly and in accordance with Rule 2-126.
    4.     If this summons is served by private process, process server shall file a separate affidavit as required by Rule 2-
           I 26(a).




CC•CV.032 (Rev. 08/2017)                                 Page 2 of 2                                      07/11/2018 10:02 AM
              Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 6 of 19

                                                                                                                                     E-FILED
                                                                                                                   Anne Arundel Circuit Court
                                                                                                                              6/21/20181 1:35 AM

        1N THE CIRCUIT COURT FOR_A_n_ne_A-'ru;;.;.n;_;;;d~el;..;C~o;.,;:u:.:.n;;,,ty'--nic,;;i.,.,..,..r'lc-:;
                                                                                                           ••;;;...,. .:ij---- ----(:1
                                     -        -
                           CIVIL NON DOMESTIC CASE INFORMA TI 0 N REPORT
                                                     DIRECTI ONS
            Plaintiff: This lnfonnation R~pon must be completed and attached 10 the complaint filed with the
         Clerk of Court unless your case 1s exempted from the requirement by the Chief Judge of the Court of
         Appeals pursuant to Rule 2-1 J l(a).
            Defenda11t: You must file an information Report as required by Ruic 2-323(h).
                          THIS INFORM/4 TION REPORT CANNOT BE ACCEPTE D AS A PLEADIN G
         FORM FILED BV:OPLA INTlFF 0DEFEND ANT                      CASE NUMBER l..-u..:-~v-u:1-uu101,
                                                                                               \C..ICrl<ffllllSCfl)
        lcASE NAME:Darissa Monroe                                  vs. Comenity . LLC et al.
                                          Pillanull                                     uc1ena1111l
         PARTY'S NAME:                                                            PHONE:
        PARTY'S ADDRESS:
        PARTY'S E-MAIL:
        If represented by an attorney:                  .
        PARTY'S AITORNEY 'S NAME: Ingmar Goldson                                          · PHONE: 240-78-08 829
        PARTY'SAITORNEY'S ADORESS:1734 Elton Rd. Suite 210, Silver Spring MO 20903
        PARTY'S AITORNEY 'S E-MAIL: igoldson® ooldsonlaw office.com
        JURY DEMAND ? lilYes ONo
        RELATED CASE PENDING ? OYes &aNo Jfycs, Case #(s), if known·
        ANTICIPATED LENGTH OF TRIAL?: _hours                               3 davs
                                                          PLEADING TYPE
                                                  0 Administrative Appeal 0 Appeal
                                                                                                                              .
        New Case:         ii Original
        Existing Case: a Post-Judgment            OAmendmcnt               .              .       .
        If filinr in an uistlni! case. skio Case Cate2orv/ Subcateeorv section • 20 to Relief section.
                        iF NEW CASE: CASE CATEGOR Y/SUBCA TEGORY (Check one box.)
                                                                   PUBLIC LAW                       0 Constructive Trust
        TORTS
            Asbescos                     g
                                        OGovemment
                                           1nsurance      .        0  Attorney Grievance . . 0 Conte'!'pt

.
        §   Assault and Battery            Product 1.iabihly
            Busin~ss and Commercial PROPERTV
            Consp1~cy                   O Adverse Possession
                                                                   OBond Forfeiture Rcm1ss1on O Dcpos1t1on Notice
                                                                   O Civil Rights
                                                                                                                     .
                                                                                                    CJ Dist Ct Min Appeal
                                                                   O County/Mncpl Code/Ord CJ Financial
'
t       8   Convcrsa.on
        liJ Defamation
                                         8 Breach of Lease
                                           Dctinuc
                                                                   O Election Law
                                                                                                                     .
                                                                                                    O Grand Jury/Petit Jury
                                                                   Cl:minent Domain/Con demn.CJ Mi,cellancou11 .      .
        CJ False Arrest/lmpr isonmen\8 DistrcsslDistrain               OEnvironin ent     O Perpetuate Tcst1mony/Ev1dcnc:c:
        (J Fraud                       Ejectmcnt               (J Error Coram Nobis       CJ Prod. of Documents Rcq.
        C] Lead Paint • DOB of
           Youngest Pit:
                                   a   Forcible Entry/Detainer O Habeas Corpus
                                    CJ Foreclosure .           CJ M~ndamu~
                                                                                                       §
                                                                                              Receivership
                                                                                              ~~~~~idc~:ter
        0 Loss of Consortium           CJ Commercial           CJ Pnsoncr R1ghl'I          CJ s~cial Adm . • Atry
        0 Malicious Prosecution        O Rcsident,al      .    0 Public lnfo. Act Records  O Sub~na Issue/Quash
        CJ Malpractice-Medical         O Currency or Vehicle O Quarantine/Isolation        O Trust Established
        (J Malpractice-Professional
        0 Misrepresentation
                                       O Deed of Trust
                                       O L~nd Jnstallments
                                                                       a
                                                                  Writ of Certiorari                    a
                                                                                              Truslee Substitution/Removal
                                                                                           O Witness Appearance-Compel
        0Mot~rTo rt                   8~~~gagc                 EMPLOYM ENT                 PEACE ORDER
           Nc1$hgencc
        8  Nu,s~ncc . . .
           Pn:mises 1:,-,a~~hty
                                       CJRight of Redemption CJ ADA
                                       CJ Statement Condo      OConspirac y
                                   O Forfeiture of Property / Cl EEO/HR
                                                                                           Cl Peace Order
                                                                                           EQUITY
                                                                                           O Declaratory Judgmenl
           Prod~cl Liability           Personal Item           O FLSA                      O Equitable Relief
           fc,~[!¥J;rf onnance      CJ fraudulent Conveyance O FMLA                  .     a  Injunctive Relief
        ; Trcs~s                    CJ Landlord-Tenant         O Workers' Com~s~tto n OMandam us
Ij         Wrongful Death           O Lis Pcndens              O Wrongful Tennmauon
                                         08 ~!~~:~rs
                                                                                            OTHER
         CONTRAC T                                 Lien        INDEPEND ENT                (J Accounting
        0 Asbestos                     panition/fate in Lieu   PROCEEDINGS                 O Friendly Suit
         0 Brc~ch       dC      · I O Quiet Title              O Assumption of Jurisdiction O Grantor in Possession . . .

t
         8 ~~~'fc~~J~ udg~Wtcrci a CJ Rent Escrow.
                 d)
                                                               0 Authorized Sale
                                    0 R~tum of Seized ~n>pcl'IYO Attorney Appointment
                                                                                            O M~ryland Insurance Adm1n1strat1on
                                                                                            O  Miscellaneous .
         O~~~cti on                 CJ R.igh\ ofRed.cmphon     0Body Attachment Issuance O Specific Transacuon
    I    0 Debt                     CJ Tcn.tnt Holding Over    O Commission Issuance        O Structured Settlements
         CJ Fraud
                                                              .Page I of3
         CC-DCM- 002 (Re"· 04n017)
       Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 7 of 19




                 IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
 CJ Abatement              0Eamings Withholding 0Judgment-Jnterest          D Return of Property
 a Administrative Action   D Enrollment            CJ Judgment-Summary O Sale of Property
 D Appointment of Receiver O Expungcment           Iii Liability            O Specific Performance
 0 Arbitration             O Findings of Fact      Doral Examination        CJ Writ-Error Coram Nobis
 0 Asset Determination     O Foreclosure           a Order                  D Writ-Execution
 0 Attachment ~/f Judgment O Injunction       .    DOwnership of Property D Writ-Garnish Property
 DCease & Desist Order     O Judgment-Affidavit   •OPartition of Property O Writ-Garnish Wages
 0 Condemn Bldg            ~ Judgment-Attorney FecsO Peace Order            O Wr!t-Habeas Corpus
 0 Contempt
 D Court Costs/Fees
                           O Judgment-Confessed a Possession
                           O Judgment-Consent      DProduction of Records
                                                                              Wf!t-Mand8J!1US
                                                                              Writ-Possession
                                                                                                g
 liJ Damages-Compensatory O Judgment-Declaratory CJ Quarantine/Isolation Order
 11' Damages-Punitive      O Judgment-Default      CJ Reinstatement of Employment

 Ifyou indicated Liability above, mark one of the following. This information is fil21 an admission and
 may not be used for any purpose other than Track Assignment.
0 Liability is conceded. CJLiability is not conceded, but is not seriously in dispute, CJI.iabil ity is seriously in dispute:
        MONETARY DAMAGES (Do not include Attornev•s Fees, Interest. or Court Costs)

  CJ Under$ I 0,000          0$10,000-$30,000               !!I $30.000 • $100,000           0 OverSl00,000

  CJ Medical Bills $                      CJ Wage Loss$                          CJ Property Damages $
                       ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 ls this case appropriate for referral to an ADR process under Md. RuJe I 7-101? (Check all that apply)
 A. Mediation        OYes IKINo                              C. Settlement Conference · lmYes ONo
 B. Arbitration      DYes liJNo                              D. Neutral Evaluation      CJYes ilNo

                                          SPECIAL REQUIREMENTS
 0 If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041
0 tfyou require an accommodation for a disability under the Americans with Disabilities Act, check
   here and attach form CC-DC-049
                                ESTIMATED LENGTH OF TRIAL
With /he exception of Baltimore County and Baltimore City, please fill in the es1ima1ed LENGTH OE
TRIAL.                           (Case will be tracked accordingly)
                   0 1/2 day of trial or Jess                    ml 3 days of trial time
                   CJ 1 day of trial time                        CJ More than 3 days oftrial time
                   a 2 days of trial time
               BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
For a/I jurisdictions, ifBusiness and Technology track designation undar Md. Rule 16-308 is requested,
                  altach a duplicate copy ofcomplaint and check one of the tracks below.

            0 Expedited- Trial within 7 months of                 CJ Standard - Trial within 18 months of
                    Defendant's response                                    Defendant's response

                                     EMERGENCY RELIEF REQUESTED


CC·DCM-002 (Rev. 04/2017)                             Pogc2of3
'   .'
                 Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 8 of 19




                             COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                                   MANAGEMENT PROGRAM (ASTAR)

               FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO A STAR RESOURCES JUDGES under
            Md Rule 16-302, attach a duplicate copy ofconiplainl at,d check whether <Kfignment to an ASTAR is requested

                       CJ Expedited - Trial within 7 months of             0 Standard - Trial within 18 months of
                                    Defendant's response                              Defendant's response
          IF YOU ARE FILING YOUR COMPLAJNT IN BA~TIMORE CITY, OR BALTIMORE COUNTY,
          PLEASE FILL OUT THE APPROPRIATE BOX BELOW.
                      CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

           0     Expedited                      Trial 60 to 120 days from notice. Non-jury ma«ers.
           CJ    Civil-Shon ·                   Trial 210 days from first answer.
           D     Civil-Standard ·              Trial 360 days from first answer.
           D     Custom                        Scheduling order entered by individual judge.
           D     Asbestos                      Special scheduling order.
           D    Lead Paint                     Fi11 in: Birth Date ofyoungest plaintiff
           D    Tax Sale Foreclosures          Special scheduling order.
           D    Mortgage foreclosures          No scheduling order.


                                    CIRCUIT COURT FOR BALTIMORE COUNTY

          0       Expedited                Attachment Before-Judgment, Declaratory Judgment (Simple);
            (frial Date-90 days)          'Administrative Appeals, District Court Appeals and Jury Trial Prayers,
                                           Guardianship, Injunction, Mandamus.

          D       Standard                Condemnation, Confessed Judgments (Vacated), Contract, Employment
           (Trial Oate-240 days)          Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
                                          Other Personal Injury, Workers' Compensation Cases.

          0  Extended Standard            Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
           (Trial Oatc-345 days)          Personal Injury Cases (medical expenses 1;1nd wage loss ofSl00,000, expert
                                          and out-of-state witnesses (parties), and trial of five or more days), State
                                          Insolvency.

          D       Complex                 Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
           (Trial Oate-150 days)          Product Liabilities, Other Complex Cases.


                             6/21/2018                                                Isl Ingmar Goldson
                                 Date                                               Signature of Counsel / Party
                    1734 Elton Rd. Suite 210                                            Ingmar Goldson
                                Address
                                                                                          Printed Name
         Silver Spring             MO 2       20903
         ..:....--''--cr,i,-ty____ State -z=ip-c=.o.:..d.,;..c-



         CC-OCM-002 (Rev. 04/2017)                            PagcJ of3
           Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 9 of 19                             E·FILED
                                                                                    Anne Arundel Circuit Court
                                                                                           6/21/2018 12:06 PM


                    IN THE CIRCUIT COURT FOR ANNE ARUNDEL COUN1Y

  D;u·issa Monroe
  8:329 Green Gr;1ss Hd.
  L1urd, MD 207!H
               l'J;,inti/F
  "·
                                                                 C-02-CV-18-001817
  Comcnity, LLC                                       Case No.
  1209 Orange St
  \Vihni11brto11, DE 19801
  Seive on:
     The Corporation Trust Company
    . 1209 Orange St
      \Vilmingt.on, DE 1980 I

  Experian lnfon11alio11 Solutions, Inc.
  :m~ City Parkway \Vest
  Orange County, Ct\ 92668
 Se1Veon:
           ~ll1e Corporation Trust Im:orpurnted
           2405 York Rd., Suite 20 I
           Luthcrville Timonium, MD 21093

                       Oefonclant-..


                                            COMPLAINT

          Plaintiff Darissa Monroe, through her undersig11ecl attorneys, files this Complaint

and Request fr)rJmy Trial ag.1inst Defendants Comcnily, LLC clha Comenily Bank

Comenity") and Experian Jnfonnation Solutions, Inc. ("Experian"), and in suppo1t thereof

states:

                                                Parties

          l.         D.u·issa Monroe is a natural person and a resident. of Anne Amndel County,

Maryland.
       Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 10 of 19



           2.    Comenitr, LLC is a Delaware LLC is a bank that lends credit to consurners,

 and is a "fomisher" that report-. credit history to crecJiL rcportjng agencies.

           3.   E.xperian is an Ohio crnvoration reb'l'ltered   10 do   business in Maryland. fo,

 principal otlice is 505 Cit)• Parkway \Vest, Orange, CA 92668. Its registered agent in

 Maryland is The Corporation Trust, Incorporated, 2405 York Road, Suite 20 I,

 Lutherville, Timonium, MD 21093-2264.

          4.    fa:peri.m is a consumer reporting agency under 15 lJ.S.C. §168Ia(f).

                                    Jwisdiction and Venue

          5.    This comt h,L,; jurisdiction over this matkr because the Defendant,; regularly

n,msacl business and perfonn work and services in Anne Arundel County, Maryland and

have availed themselves of the jmiscliction of this Cornt.

          (i.   Venue is appropriatt! in rhi,; Court because the Defondants conduct business

within Anne Arundel Count\',
                         . Marvland.
                              .

                                         Statement of Facts

                            A. Ms. Monroe's Bankruptcy Discharge

          7.    On St:ptcrnber 29, 2016, Monroe filc.'i a voluntary chapter 7 bankruptcy

petition in the United States Bankruptcy Court, District of Maryfand; Case no. 16-23090.

          8.    Monro<:! included credit card deht from a Comenily Bank Express card, and

a Cmnt!nitv Bank. The Limited card in Schedule F./F Creditors \Vho Have Unsecured

Claims (Official Fonn l06E/11). The creditor, Comenitv Bank, was listed in the creditor's

matrix.




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      Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 11 of 19



        9.     On.January 12, 2017, The United Stites Bankruptcy Court, DistricL of

 l\faryland issued an Order of Discharge in Darissa Monroe's Chaptt:r 7; Doc:ument no. 22

of Case no. l G-23090.

                         B. Ms. Monroe's Attempt to Repair her Credit

        10.    In October of 2017, Monroe checked her credit and saw that m1merous

credit accounrs, including Express and Limited Comenity Bank account">, were appearing

on her Experian, Equifax and Tans Union credit files as open and delinquent accounts that

had not been disd1argecl i_n Bankruptcy.

       11.    In December of ~017, Monroe checked her onlirn: web-h,L">ed Express and

Limited Comcnity Bank credit card accounts and noticed that the accounts were still open

and showing a minimum amount due.

       12.    After attempting to notify the b,mks Lh,1t the ,tc:counts had been discharged in

Bankrnptcy, in November of 2017, Monroe sent dispute letters to Experian, Equifax and

'fransunion informing them that certain accounts, including the Express and Limited

Comenity Bank accounti; .u-e being reported inaccurately.

       13.    On Ap1il 18, 2018, Monroe sent a second round of disputes to Expe1ian and

TransUnion infonning them that the Express and Limited Comenity Bank acrounts are

being reported inaccurately. l\ifonroc included the Banknaptcy case number aud evidence

induding the discharge order on her disputes.

       14.    Pursmmt to 15 U.S.C. § 1681 i(a)(2), Experian, Equifax and Trans U nion

were required to send the disputes and supporting documents to Comenity Bank, the

furnisher of the inaccurate informatjon.

                                              a
       Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 12 of 19



            15.    Experian c.;ontinues to report the false Comenity Bank trade lines after

 receiving the aforementioned disputes.

            16.    On i11formalion and hclid: Experian failed to conducL a re,L'ionable

 irm:stigation of Ms. Monroe's dispute~. as required by the. FCRA.

            17.    On information and bdiet: E..\'.perian transmitted Ms. Monroe's disputes to

Comenity Bank.

        18.       On information and belief: Comenity Bank failed to conduct a reasonable

investig-Jtion of Monroe's disputes, and aflirmed the truth of the false information tJ1at

Comenity B,mk was reporting to each CRA.

        19.       Expe1i;m continues to report the false Comenity Bank tr.ule line after

receiving- the afore::mentioned disputes.

                               C. Damage Inflicted By the Defen~ants

        20.       By illegally clisreg-Jrding the disch.irge order on the United States Bankruptcy

Court and continuing to hold open and report as current and valid two credit card debts,

Comenity Bank caused e(·onomic damages and intangible damages related to emotional

distress.

        21.       By failing to maintain policies and procedures that would ensure accurate

reporting of consumer information, Experian caused economic chunages and intan.i,rible

damr1ges related to emotional distress.

       22.        In March of 2017, .Monroe was unable to secure a loan from her credit

union due the aforementioned false and inaccurate reporting. Monroe ended up having to
       Case 1:18-cv-02503-PX Document 1-1 Filed 08/15/18 Page 13 of 19



 use an auto lendet who charged a higher rate of interest than the rredit union would have

 provjded and required a large down payment

        23.     In and around October of 2017, Monroe was denied rental housing due to

the aforementioned false and inaccurate reporting.

        24.     The aforementioned faJse and inaccurate reporting caused Monroe stress at

work and at home, especially when she had lo lake time out of her vmrkweek to attempt to

remedy the false and inaccurate credit reporting.

        25.     Due lo the aforementioned false and inaccurate reporting, Monroe had to

deal with shame and embaniL'iSnu~nt when asking her parenL'i to cosi1,'l1 for rental housing.

        26.    Monroe suffered from ,mxiety and many sleepless nights, especially when her

school tuition W,L'i clue, elm: Lo the financial pressures inflicted by the aforementioned false

_and inaccurnte reporting.

     COUNT One - Violation of the Fair Credit Reporting Act - Failure to Investigate

                                    (Defendant Comenity)

                                   15 U.S.C ~§ 1681. et. seq.

       27.     The alleg-.itions contained in all pret:eding para6'1'aphs are incorporated

herein as if re-alleged.

       28.     The FCRA requires tJ1at a furnisher such as Comenity, alter receiving notice

from a consumer reporting agency that a consmner disputes inlon11ation that is being

reported by that furnisher, condu~r a reasonable investigation with respect. to the disputed

information, to review all relevant information, to report the results of the investigation to

the consumer reporting agency, and, if the investi1,ration reveals that the information is
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 iru:omplete or inaccurate, to report those results to all other conslm1er reporting agencies

 to which tl1e furnisher has provic.lec.l the inaccurate information.

         29.      From February of 2017 until the present, Comenity Bank has consistently

 provided inan:urate about Monroe information to Experian, TransUnion, and .Equifax.

         :-m.     Monroe disputed the inaccurate information with each CH.A at least twice.

         a1.      Even after the Plainliff numerous disputes wid1 Experian, TransUnion, and

 Equifax, tht! CRAs continued to reporl the false and clamabring information about the

 PlaintilI

         ~12.     Pursuant to the FCRA, Experian, Transllnion, and Equifax each sent the

 Plaintiff disputes to the furnisher of the false infommtion: Comenity Bank.

        33.      After the Plaintiff sent the dispute letters to the CRAs, and d1e CRAs sent tht::

dispute letters to Comenity, Comenity "verified" the false reporting as ;1ccurate, knowing

dmt .Monroe did not owe the debt being reported.

        34.      1.5 U.S.C. § Hi8ls-2 prohihit;; furnishers from reporting inaccurate

information, and sets forth the furnisher's duty to investigate the completeness and

accuracy of the infonnaticm reported when the furnisher receives a dispute from a

consumer.

        B5.      Atler receiving notice hy F...~pc1ian, Equifax, and TransUnion, ,L'- required by

d1e FCRA, Ddenclant Comenity Bank engaged in conduct that violates 15 USC§ Hi8ls-

2(a), (h), by:

        a.       \iVillfully failing to conduct an investigation of the inaccurate inform;1tion 1hat

Plaintiff disputed;
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        h.      \Villli.,lly failing to report the results of investigations to Experian,

Tra11sUnion, and Equifax;

        c.      \Vi1Hi.11ly faj)ing Lo report an accurate status of the inaccur;1te informarjon to

Experian, TransUnion, .mcl Equifax;

        cl.     ~'illli.11ly failing to properly participate, investigate and comply nith the

reinvestigations that were conducted by any and a11 consumer reporting agencies

concerning the inaccurate infonnation disputed by Monroe;

        e.     \VilJfu)ly continuing to furni'ih and disseminate inaccurate and derogatory

credit, account and other infonnation concerning Monroe to Experian, Equifax and Tr.ms

Union an<l

       [       vVillfully failing to comply nith the requirement,; imposed on furnishers of

infommtion pursuant. to 15 USC§ 1G81s-2(a), (b).

        36.    In the alternative, the ahove-described violations were negligent

        37.    Comenity's conduct w,L'i a direct and proximate cause, as well as a substantial

factor, in causing se1ious i11juries, damages ;md harm to Plaintiff thar. ;u-e descrihed above.

     COUNT Two - Violation of the Fair Credit Reporting Act - Failure to Investigate

                                      (Defendant Experian)

                                    15. U.S.C. §§ 1681 et. seq.


       38.     The allegations contained in all preceding paragraphs .u-e incoqJ01,1ted

herein as if re-alleged.




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           39.    The FCRA provides that if the completeness or accuracy of any item of

 information contained in a consunier's tile at,\ CRA is disputed by the n>nsumer and the

 consmner notifies the agency <lirecdy of such dispute, the agency shaJI conduct a

 reasonable reinvestigation to determine whether the disputed information is inaccur,1te, or

delete the item from the file within 30 days of rect:i,~ng the consumer's dispute notice. 15

lJ .S.C.   S I 681 i(a)(2){A).
           40.    The FCRA fi..1rther requires the CRA, within 5 business days of receiving

nolice of the c:onsmncr's dispute, lo provide notification of the dispute lo the person who

famished the info1111ation in cfo,putc and requires the CRA to "include all relevant

infon11ation reg..u-ding the dispute that the agency received from the consumer." 15 U.S.C.

S 1G8I i(a)(~)(A). In rnn<lucting iLc; reinvestigation of disputed information in a consumer
report, the CRA is required to "review and consider all relevant infonnation submitted by

the consumer." /rl

       41.        Experian failed to conduct a reasonable reinvestigation of the inaccuracies

that the Plaintiff disputed.

       42.       Experian failed to review and consider all relevant infi.l1mation submitted by

PlainrjtI

       4:3.      A-. a direct and proximate result of the ahm·c-descrihed violations of§ 1G8Ii

of the FCRA, Plaintiff hc1s sustained ditnmges.




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      COUNT Tiu-ee - Violation of the Fair Credit Reporting Act - Faillll'e to Maintain

                                      Reasonable Procedures

                                      (Defendant. Experian)

                                      15 USC§§ Hi81 et seq.


        44.     The allcg-..1tions contained in all preceding paragraphs are incorpor.1tcd

herein as if re-alleged.

        45.     Despite receiving complainLs and disputes from the Plaintiff, the CRAs have

failed to correct the disputed erroneous information.

        46.     Experian failed to employ and follow re;Lo;onable procedures to assure

maximum possible accuracy of Plaintiffs credit report, information, and file, in violation of

15 l1SC S 168le(b). The basis of tJ1is allegation is the fact thal Monroe gave l.hc CRAs

definitive proof of the Bankruptcy discharge and the Plainti!Ps inclusion of the Comenit:y

debts in that bankruptcy c.Lse, including c,Lse file numbers and courr orders, yet the CRAs

continued lo report die false debt.

       47.     As a direct ;md proximate result of the abovc-descrihccl violations of§

IGB Ie(b) of the FCRA, Plaintiff has sustained damages.


                                  COUNf Four - Defamation
                                        (All Defendants)

       48.     The allegations contained in all preceding paragraphs are incoqmrated
herein as if re-alleged.
       49.     In reporting the false debt, ,md maintaining it on Plaintiffs credit report,
Defendants knowingly made false and defamatory statements about PlaintifI
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               50.       Dcfr:ndant Comenity published false and defamatory 11uhlicatio11 to the
      Experian, who rcasonahly understood this publication to he defamatory after th~y received
      dispute leuers from Monroe.
              51.        Experian puhlished this false and defamatory publication to Plaintifl's
      consumer report, which is accessibly by banks, potential employers, landlords, ,md other
      husi1iesses, who would reasonably unclerst;md this publication to be negative, damaging,
      and/or harmful.
              52.       Plaintiffs consumer reports were published to persons other than defendants
      in this suit.
              53.       AIi Delendant,; acted with knowledge of: or nith reckless disregard of, the
     hilsity of the statements, once Monroe informed all Defemhmts that the reporting was false
     ;md provided documentary e,,idencc of the bankruptcy discharge.
              54.       As a result of the false and <lefiuuatory st1tcments puhlishecl by each
     Delendant, the character ;md reputation of Plaintiff were h;u-med, her standing and
     reputation before creditors ,md potential lmullords was impaired, and she suflered mental
     anguish and personal humiliation.
                          COUNT Five - Claim for Attorneys Fees Allowed By Law

                                                (All Dden<l,mt,;)

             55.        The allegations contained in ,ill preceding paragraphs are incorporated
     herein as if re-alleged .
             .56.       Pursuant to Rule 2-70.~(11) the Plaintiff includes this separately numbered claim

     for attorney's     tees in this initial pleading. Further, pursuant to Rule 2-703(d), the Plaintiff

     advises the court aucl the Defendants that she bdieves that this case is lik~ly to result in a

     substantial claim for attorneys' fees for scn•ices over a si!,•nific:ant period of time.

         \VHEREFOHE, Plaintiff respectfully request-; the following relief against all Defendants

     on a.II CounLo;:


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A. Actual damages in excess of $75,000 as deLermined by a jury, for each coum;

B. Statutory Damages or $1,500 for each willful violation of the fCRA;

C. Punitive Damages in an amount to be cletennined by a jury;

D. Attorneys fees pursuant to Huie 2-70 l et. .'ieq.; and

E. Such other and fi.irther relief as the nalure of this case may require.

                                                Respectfully submitted,


                                                ls/Ingmar Gold.son
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                                               Attorney for Plaintiff


                                  TURYDEMAND

  Plaintiff hereby demands a trial by jury of all issues so Lriable.


                                                      ls/Ingmar Goldson
                                                      Ingmar Goldson, Esq
                                                      CPF # 1212110336




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